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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                     )
    In re                                            )     Chapter 11
                                                     )
    AMYRIS, INC., et al.,                            )     Case No. 23-11131 (TMH)
                                                     )
                             Debtors.1               )     (Jointly Administered)
                                                     )     Hearing date: TBD
                                                     )     Obj. Deadline: December 28, 2023, at 4:00 p.m.


       SUMMARY STATEMENT FOR THE FIRST INTERIM FEE APPLICATION OF
        SHEARMAN & STERLING LLP AS SPECIAL COUNSEL TO THE DEBTORS
          FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF
           EXPENSES INCURRED FOR THE PERIOD FROM AUGUST 9, 2023,
                  THROUGH AND INCLUDING OCTOBER 31, 2023
    Name of Applicant:                                       Shearman & Sterling LLP

    Authorized to Provide Professional Services to: Debtor and Debtor in Possession

    Date of Retention:                                       September 26, 2023 (Effective as of August 9, 2023)

    Fee Period for which Compensation and
                                                             August 9, 2023, through October 31, 20232
    reimbursement is sought:

    Amount of Compensation sought as actual,
                                             $112,800.50
    reasonable and necessary:

    Amount of Expense Reimbursement sought as
                                                             $56.08
    actual, reasonable and necessary:

    Compensation Sought in this Application
    Already Paid Pursuant to the Interim                     $90,240.40
    Compensation Order, but not yet Allowed

    Expenses Sought in this Application Already
    Paid Pursuant to the Interim Compensation                $56.08
    Order, but not yet Allowed



1
      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
      Debtors’ claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.
      principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street,
      Suite 100, Emeryville, CA 94608.
2
      The Applicant reserves the right to include any time expended in the time period indicated above in future
      application(s) if it is not included herein.
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This application includes 12.6 hours and $18,897.00 in fees in connection with the preparation of
fee applications.




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 Prior applications:
                                        Requested                       Approved
Date Filed;           Period Covered        Fees            Expenses         Fees       Expenses
Docket No.
 Oct. 30, 2023;            8/9/2023 –
                                         $72,653.00          $23.79        $72,653.00    $23.79
      639                  9/30/2023
 Nov. 22, 2023;           10/1/2023 –
                                         $40,147.50          $32.29        $40,147.50    $32.29
      783                 10/31/2023
                  Total                  $112,800.50         $56.08       $112,800.50    $56.08




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                        FEE PERIOD SUMMARY BY TIMEKEEPER



                                            Hourly
Name of Professional    Title and
                                         Billing Rate                     Total Billed      Total
(or Paraprofessional)   Year/State of                    Expertise
                                          (including                        Hours        Compensation
Person                  Admission
                                           changes)
                   Counsel at
                   firm. Member
Jonathan E. Cheng                        $1,555.00       Antitrust            3.6         $5,598.00
                   of the NY Bar
                   since 2012.
                   Legal                                 Legal
Joel Dizon                                $480.00                             1.1          $528.00
                   Assistant                             Assistant
                   Partner at
                   firm. Member                          Mergers &
Michael S. Dorf                          $2,130.00                           21.3         $45,369.00
                   of the CA Bar                         Acquisition
                   since 1992.
                   Legal                                 Legal
Christine Horsley                         $525.00                             0.3          $157.50
                   Assistant                             Assistant
                   Associate at
                   firm. Member
J. Kyle Jaksa                            $1,215.00       Bankruptcy          23.4         $28,431.00
                   of the TX Bar
                   since 2020.
                   Associate at
                   firm. Member
Daniel A. Kahn                           $1,415.00       Litigation           4.0         $5,660.00
                   of the NY Bar
                   since 2010.
                   Partner at
                   firm. Member
                   of NY Bar
Daniel H. R.
                   since 2000.           $2,130.00       Litigation           0.7         $1,491.00
Laguardia
                   Member of the
                   CA Bar since
                   2017.
                   Partner at
                   firm. Member
C. Luckey McDowell of the Texas          $2,130.00       Bankruptcy           7.3         $15,549.00
                   Bar since
                   2002.
David Moura             Administration    $225.00        Administration       0.4           $90.00
                        Partner at
                        firm. Member
Djordje Petkoski        of District of   $1,975.00       Antitrust            1.0         $1,975.00
                        Columbia Bar
                        since 2007.

Ruth Sheopaul           Administration    $225.00        Administration       1.1          $247.50
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                                            Hourly
Name of Professional    Title and
                                         Billing Rate                     Total Billed      Total
(or Paraprofessional)   Year/State of                    Expertise
                                          (including                        Hours        Compensation
Person                  Admission
                                           changes)
                        Legal                            Mergers &
Melina Stavropoulos                       $375.00                            14.5         $5,437.50
                        Assistant                        Acquisition
                        Legal                            Legal
Rachelle Tercero                          $480.00                             1.7          $816.00
                        Assistant                        Assistant
                        Associate at
                        firm. Member
                                                         Intellectual
Eva Wang                of the            $995.00                             1.3         $1,293.50
                                                         Property
                        California Bar
                        since 2022.
Matthew Woods           Administration    $225.00        Administration       0.7          $157.50
Total                                                                        82.4         $112,800.50
Blended Rate:                             $1,368.94




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            SUMMARY OF COMPENSATION BY PROJECT CATEGORY

                                              Total Hours            Total Fees
Beauty Labs Litigation                           10.0                $9,147.50
Retention and Fee Applications                   36.2               $55,695.00
Antitrust and Privacy Advice                      7.5               $12,274.50
Legacy Transactions Advice                       28.5               $35,257.50
Asset Sales                                       0.2                 $426.00
TOTAL                                            82.4               $112,800.50




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                    EXPENSE SUMMARY


         Expenses Category            Total Expenses

      Other Outside Services                        $56.08

      TOTAL                                         $56.08




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                       )
    In re                                              )     Chapter 11
                                                       )
    AMYRIS, INC., et al.,                              )     Case No. 23-11131 (TMH)
                                                       )
                              Debtors.1                )     (Jointly Administered)
                                                       )     Hearing date: TBD
                                                       )     Obj. Deadline: December 28, 2023, at 4:00 p.m.


        FIRST INTERIM FEE APPLICATION OF SHEARMAN & STERLING LLP AS
             SPECIAL COUNSEL TO THE DEBTORS FOR ALLOWANCE OF
                COMPENSATION AND REIMBURSEMENT OF EXPENSES
                 INCURRED FOR THE PERIOD FROM AUGUST 9, 2023,
                   THROUGH AND INCLUDING OCTOBER 31, 2023

            Pursuant to sections 330 and 331 of title 11 of the United States Code (the “Bankruptcy

Code”), and Rule 2016 of the Federal Rules of Bankruptcy Procedure, and in accordance with that

certain Order Under 327(e) of the Bankruptcy Code Authorizing the Employment and Retention of

Shearman & Sterling LLP as Special Counsel for the Debtors Effective as of the Petition Date

[Docket No. 361] (the “Retention Order”) and that certain Order Establishing Procedures for

Interim Compensation and Reimbursement of Expenses for Professionals [Docket No. 279] (the

“Interim Compensation Order”), the law firm of Shearman & Sterling LLP (“Shearman”) hereby

applies (the “Application”) to the United States Bankruptcy Court for the District of Delaware (the

“Court”) for reasonable compensation for professional legal services rendered as special counsel

to the above-captioned debtors and debtors in possession (the “Debtors”), in the amount of

$112,800.50, together with reimbursement for actual and necessary expenses incurred in the




1
      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
      Debtors’ claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.
      principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street,
      Suite 100, Emeryville, CA 94608.
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amount of $56.08, for the period August 9, 2023 through and including October 31, 2023 (the “Fee

Period”). In support of this Application, Shearman respectfully represents as follows:

                                        BACKGROUND

       1.      On August 9, 2023 (the “Petition Date”), the Debtors filed voluntary petitions in

this Court commencing these cases (the “Chapter 11 Cases”) for relief under chapter 11 of the

Bankruptcy Code.

       2.      Pursuant to the Retention Order, Shearman was retained to represent the Debtors

as special counsel in connection with these chapter 11 cases, effective as of the Petition Date. The

Retention Order authorizes Shearman to be compensated on an hourly basis and to be reimbursed

for actual and necessary out-of-pocket expenses.

       3.      All services for which compensation is requested herein by Shearman were

performed for or on behalf of the Debtors.

                         PRIOR MONTHLY FEE APPLICATIONS

       4.      Prior to the filing of this Application, Shearman filed monthly fee applications (the

“Prior Monthly Fee Applications”) for the period from the Petition Date through October 31,

2023, which Prior Monthly Fee Applications are incorporated herein by reference. The summary

sheet to this Application summarizes the current status of these Prior Monthly Fee Applications.

The fee statements covering the monthly fee periods were attached as exhibits to each of the Prior

Monthly Fee Applications. These statements contain daily time logs describing the time spent by

each attorney and paraprofessional for the relevant period and are incorporated herein by reference.

       5.      During the Fee Period, Shearman’s services to the Debtors encompassed a wide

range of legal services, including (but not limited to) advising on potential anti-trust claims and

reviewing pre-petition transactions. The fee statements and expense statements covering the Fee




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Period are attached hereto as Exhibits A and B, respectively. As with the Prior Monthly Fee

Applications, these statements contain daily time logs describing the time spent by each attorney

and paraprofessional during this period.

                          SUMMARY OF SERVICES BY PROJECT

       6.      The following is a summary of the professional services Shearman rendered during

the Fee Period. This summary is organized in accordance with Shearman’s internal billing

procedures, which groups services by subject matter category (each a “Matter Category”). These

categories of services are generally described below, with a more detailed identification of the

actual services provided attached to Shearman’s Prior Monthly Fee Applications.

               (a)     Beauty Labs Litigation

               Fees: $9,147.50; Total Hours: 10.0

       7.      This Matter Category includes services rendered in connection with, among other

things, (i) various logistical matters relating to the ongoing Beauty Labs Litigation, including court

filings related to staying the litigation during the pendency of the bankruptcy proceedings and

required updates and reports and making docket entries, and (ii) coordination of the Beauty Labs

Litigation through document review/production, developing timelines.

               (b)     Retention and Fee Applications

               Fees: $55,695.00; Total Hours: 36.2

       8.      This Matter Category includes time spent by Shearman attorneys providing services

related to the retention of the Firm as the Debtors’ special counsel. Specifically, Shearman

attorneys spent time: (i) preparing pleadings and a comprehensive disinterestedness analysis

necessary to obtain the order of the Court approving the employment of Shearman to represent the

Debtors; (ii) preparing and filing Shearman’s Prior Monthly Fee Applications in accordance with




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the Interim Compensation Order.

                (c)      Antitrust and Privacy Advice

                Fees: $12,274.50; Total Hours: 7.5

        9.      This Matter Category includes time spent by Shearman attorneys providing services

related to antitrust advice. Specifically, Shearman attorneys spent time: (i) advising the Debtors

on potential antitrust issues regarding renegotiating supply agreements and establishing

information sharing protocols; and (ii) responding to privacy-related questions posed by the

Debtors.

                (d)      Legacy Transactions Advice

                Fees: $35,257.50; Total Hours: 28.5

        10.     This Matter Category includes time spent by Shearman attorneys and

paraprofessionals providing services related to pre-petition transactions and related negotiations,

including independent director investigations regarding board oversight and approval of pre-

petition transactions and questions posed by Debtors and the Debtors’ counsel regarding the

negotiation history regarding certain provisions of pre-petition transaction documents. Shearman

professionals spent time: (i) analyzing the negotiation history of pre-petition transaction

documents; (ii) reviewing and providing advice on pre-petition transactions documents; and (iii)

participating in interviews regarding independent director investigations.

                (e) Asset Sales

                Fees: $426.00; Total Hours: 0.2

        11.     This Matter Category includes time spent by Shearman attorneys reviewing the

auction timeline and communications with the Debtors regarding anticipated tasks related to

potential asset sales.




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                                 VALUATION OF SERVICES

        12.    Attorneys and paraprofessionals of Shearman have expended a total of 82.4 hours

in connection with this matter during the Fee Period.

        13.    The amount of time spent by each person providing services to the Debtors for the

Fee Period is fully set forth in the invoices attached hereto as Exhibit “A.” The rates reflected are

Shearman’s standard hourly rates of compensation for work of this character. The reasonable

value of the services rendered by Shearman for the Fee Period as special counsel for the Debtors

in this case is $112,800.50.

        14.    Shearman believes that the time entries included in Exhibit “A” attached hereto and

the expense breakdown set forth in Exhibit “B” attached hereto are in compliance with the

requirements of Local Rule 2016-2.

        15.    In accordance with the factors enumerated in section 330 of the Bankruptcy Code,

the amount requested is fair and reasonable given (a) the complexity of this chapter 11 case, (b) the

time expended, (c) the nature and extent of the services rendered, (d) the value of such services,

and (e) the costs of comparable services other than in a case under chapter 11 of the Bankruptcy

Code.

                                       DISBURSEMENTS

        16.    Exhibit B attached hereto is a detailed statement of expenses paid by Shearman

during the Fee Period, showing the amount of $56.08 due for reimbursement of expenses. This

out-of-pocket disbursement sum is broken down into categories of charges, including, among other

things, telephone charges, mail and express mail charges, document processing, photocopying

charges, travel expenses and computerized research. A complete review by category of the

expenses incurred for the Fee Period may be found in the attachments hereto as Exhibit B.




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        17.     Costs incurred for computer assisted research and court alert services are not

included in Shearman’s normal hourly billing rates and, therefore, are itemized and included in

Shearman’s disbursements. Pursuant to Rule 2016-2 of the Local Rules of Bankruptcy Practice

and Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules”), Shearman represents that there is no surcharge for computerized research or court alert

services.

                                             FEE PERIOD

        18.     This Application covers the Fee Period of August 9, 2023, through and including

October 31, 2023. During the Fee Period, Shearman performed necessary services and incurred

disbursements for the Debtors and their estates. As set forth in Prior Monthly Applications, in

accordance with the factors enumerated in 11 U.S.C. § 330, approval of the fees requested for the Fee

Period is fair and reasonable given (a) the complexity of this case, (b) the time expended, (c) the nature

and extent of the services rendered, (d) the value of such services, and (e) the costs of comparable

services other than in a case under this title. In addition, the disbursements for which reimbursement

is sought were actual, reasonable and necessary costs (i) incurred while representing the Debtors and

(ii) of preserving the value of the Debtors’ estate.

                                  STATEMENT OF APPLICANT

        19.     Shearman respectfully states as follows to address the questions set forth under

section C.5 of the UST Guidelines:

                a)      During the Fee Period, Shearman did not agree to any variations from, or
                        alternatives to, its standard or customary billing rates, fees, or terms.

                b)      The professionals included in the Application did not vary their hourly rate
                        based on the geographic location of the bankruptcy case.

                c)      The Application does not include any fees dedicated to revising time records
                        or preparing and revising invoices that would not normally be compensable
                        outside of bankruptcy.



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                 d)    The time periods covered by the Application includes approximately 6.8
                       hours with a value of $5,589.00 spent by Shearman to ensure that the time
                       entries subject to the Application comply with the Local Rules of
                       Bankruptcy Practice and Procedure of the United States Bankruptcy Court
                       for the District of Delaware and do not disclose privileged or confidential
                       information. This review and any revisions associated therewith are a
                       necessary component of Shearman’s preparation of each monthly fee
                       application.


                                BLENDED RATE SCHEDULE

          20.    A blended rate schedule, as requested by Appendix B to UST Guidelines, is

attached hereto as Exhibit C.

                                        CONCLUSION

          WHEREFORE, Shearman requests that allowance be made to it in the sum of $112,800.50

as compensation for necessary professional services rendered to the Debtors for the Fee Period,

and the sum of $56.08 for reimbursement of actual necessary costs and expenses incurred during

that Fee Period and further requests such other and further relief as this Court may deem just and

proper.


                                   [Signature Page to Follow]




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